                Case 1:19-cv-00574-RP Document 1 Filed 06/04/19 Page 1 of 37



AXS.10809
                       IN THE UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF TEXAS,
                                      AUSTIN DIVISION

    DOROTHY WALKER,                                     §
                                                        §
    v.                                                  §
                                                        §    Civil Action No. 1:19-cv-574
    NEUTRON HOLDINGS, INC. d/b/a                        §
    LIMEBIKE and/or LIME SCOOTERS                       §
    and ZACHARY CARTER,                                 §

                                DEFENDANTS’ NOTICE OF REMOVAL

         NEUTRON HOLDINGS, INC.          D/B/A   LIMEBIKE    AND/OR    LIME SCOOTERS        AND   ZACHARY

CARTER file this, their Notice of Removal under 28 U.S.C. §§1441 and 1446:

                                                       I.
                                              Basis for Removal

         The basis of the removal of this action is diversity jurisdiction under 28 U.S.C. § 1332. In

particular, diversity jurisdiction exists in this case because there is complete diversity of

citizenship between the parties, as Neutron Holdings, Inc. is not a citizen of the State of Texas,

Zachary Carter was fraudulently and improperly joined, and the amount in controversy exceeds

$75,000.00, exclusive of interest and costs. 1

                                                      II.
                                            Diversity Jurisdiction

         Plaintiff, at the time of the initial filing of this action and at the current time of the removal of

this action, was and is a citizen, resident, and domicile of the State of Texas.

         Neutron Holdings, Inc., at the time of the initial filing of this action and at the time of the

removal of this action, was and is a corporation formed under the laws of Delaware with its

principal place of business in San Francisco, California. Neutron Holdings, Inc. (“Lime”) has

never been a resident of, incorporated in, or had its principal place of business in the State of

1
    See 28 U.S.C. § 1332.

DEFENDANTS’ NOTICE OF REMOVAL                                                                          Page 1
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Texas.

    Zachary Carter, at the time of the initial filing of this action and at the current time of the

removal of this action, was and is a citizen and resident of the State of Texas. However, for the

reasons discussed below, Zachary Carter is not a proper party to this action and has been

fraudulently and improperly joined; hence, his citizenship should be ignored for purposes of

removal.

                                                III.
                                     Improper/Fraudulent Joinder

    Plaintiff named Zachary Carter as a Defendant in this lawsuit.2 Plaintiff has not pled any

facts that would allow Plaintiff to recover from Zachary Carter in his individual capacity, and, in

fact, has not even alleged that Carter owed any separate or independent duty of reasonable care

to Plaintiff. Improper/fraudulent joinder is established where, as here, there is no reasonable

basis for predicting that the Plaintiff might be able to establish the non-diverse defendant’s

liability on the pleaded claims in state court. 3 Federal courts look to Texas state law to determine

whether a plaintiff may maintain a cause of action against a defendant. 4 In Texas, an individual

acting as an officer, agent, or employee of a company can only be held individually liable for

negligence when the individual owes an independent duty of reasonable care to the injured party

apart from the employer's duty. 5 So unless Plaintiff can establish that Zachary Carter owed an

independent duty of care to Plaintiff, separate and apart from the duties owed by Lime to its

customers, Zachary Carter is not a proper party to this case.

    Texas case law is replete with opinions finding an employee does not owe an independent



2
  See generally Plaintiff’s Original Petition and Request for Discovery.
3
  Travis, 326 F.3d, at 647 (5th Cir. 2003); Tedford v. Warner-Lambert Co., 327 F.3d 423 (5th Cir. 2003); Rico v.
Flores, 481 F.3d 234 (5th Cir. 2007).
4
  Id.
5
  Tri v. J.T.T., 162 S.W.3d 552, 562 (Tex.2005) (citing Leitch v. Hornsby, 935 S.W.2d 114, 117 (Tex. 1996)).

DEFENDANTS’ NOTICE OF REMOVAL                                                                            Page 2
            Case 1:19-cv-00574-RP Document 1 Filed 06/04/19 Page 3 of 37



duty of care to customers of his or her employer. 6 Actions by an employee or officer taken in

course and scope of employment, “whether active or passive,” are actions of the corporation on

behalf of the employer. 7 In this case, Plaintiff’s only allegations concerning Carter pertain to

alleged duties he may have owed or breached in his capacity as a Lime employee that are not

distinct from those which Lime, itself, may owe to its customers. 8

    Thus, Plaintiff alleges no facts that would support a claim that Carter owed Plaintiff any

independent duty, separate and apart from Lime’s duties to Plaintiff. 9

                                                      IV.
                                                  Background

    Plaintiff claims that she was travelling on a Lime Scooter west on 11th Avenue in Austin,

Texas, approaching an intersection with Congress Avenue when she was thrown into a gate and

suffered injuries as result. 10 She claims that the accident happened because “the scooter’s brakes

did not work as expected.” 11 Plaintiff filed suit against Lime and Carter in the 126th Judicial

District Court of Travis County, Texas, alleging causes of action for negligence and gross

negligence.




6
  See, e.g., Kopczynski v. Wal-Mart Stores Texas, L.P., No. H-10-4507, 2011 WL 902237, at *4-7 (S.D. Tex. March
14, 2011) (not designated for publication) (citing Tri v. J.T.T., 162 S.W.3d 552, 562-63 (Tex. 2005) and Leitch v.
Hornsby, 935 S.W.2d 114, 17-18 (Tex. 1996)); Gaston v. Wal-Mart Stores Texas, LLC, No. H–09–4094, 2010 WL
1426876, at *6-8 (S.D. Tex. April 8, 2010) (not designated for publication) (citing same); Gonzalez v. Wal–Mart
Stores, No. 10-CV-120, 2010 WL 1417748, at *1-3 (W.D. Tex. March 31, 2010) (not designated for publication)
(citing same).
7
  Leitch, 935 S.W.2d at 118.
8
   McKinney v. Home Depot, USA, Inc., No. 4:06-cv-327-A, 2006 WL 2947324, at *3 (N.D. Tex. Oct. 13, 2006)
(concluding that a store manager was improperly joined because the plaintiff failed to allege that he owed an
independent duty to the plaintiff); Palmer v. Wal-Mart Stores, Inc., 65 F.Supp.2d 564, 567 (S.D. Tex. 1999)
(denying plaintiff’s motion to remand, and noting that the plaintiff made no allegations that the store manager owed
“her any independent duty or duty of reasonable care, apart from that which his employer owed any store patron”).
9
   See Allen v. Walmart Stores, L.L.C., 907 F.3d 170, 182 (5th Cir. 2018) (quoting Leitch v. Hornsby, 935 S.W.2d
114, 117 (Tex. 1996)); see also Kopczynski v. Wal-Mart Stores Texas, LP, 2011 WL 902237, at *4-7 (S.D. Tex. Mar.
14, 2011) (co-employees and managers owed no independent duty to employee despite allegations they personally
participated in negligent acts).
10
   See Plaintiff’s Original Petition and Request for Discovery, p. 4.
11
   See Plaintiff’s Original Petition and Request for Discovery, p. 4.

DEFENDANTS’ NOTICE OF REMOVAL                                                                                Page 3
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                                                     V.
                                            Amount in Controversy

     Plaintiff judicially admits in her Original Petition and Request for Discovery that she seeks

damages in excess of $1,000,000.00. 12 Specifically, Plaintiff seeks damages for:

         •   Past and future medical expenses;
         •   Past and future pain and suffering
         •   Past and future mental anguish;
         •   Physical disfigurement;
         •   Past and future impairment;
         •   Lost wages; and
         •   Loss of past and future earning capacity. 13

As a result, the amount in controversy in this case exceeds $75,000.00, exclusive of interest and

costs, and this case is removable. 14

                                                     VI.
                                               Removal is Timely

     The removal is timely because it is filed “within thirty days after receipt, through service or

otherwise, of a copy of an amended pleading, motion, order or other paper from which it may first be

ascertained the case is one which is or has just become removable.” 15 Defendants first became aware

this case was removable on or about May 10, 2019, when Defendants were served with Plaintiff’s

Original Petition and Request for Discovery. Accordingly, this removal is timely because it is made

within thirty days after the receipt by Defendants of the document that first demonstrated the case

was removable. And more than one year has not passed since the commencement of the action in

state court. 16




12
   See Plaintiff’s Original Petition and Request for Discovery, p. 10.
13
   See Plaintiff’s Original Petition and Request for Discovery, p. 10.
14
   See S.W.S. Erectors, Inc. v. Infax, Inc., 72 F.3d 489, 492 (5th Cir. 1996); see also Laughlin v. Kmart Corp., 50
S.W.3d 871, 873 (10th Cir. 1995) (amount in controversy is ordinarily determined by allegations in complaint).
15
   28 U.S.C. § 1446(b).
16
   See 28 U.S.C. § 1446(b).


DEFENDANTS’ NOTICE OF REMOVAL                                                                                   Page 4
          Case 1:19-cv-00574-RP Document 1 Filed 06/04/19 Page 5 of 37



                                               VII.
                                              Venue

   Venue is proper in this district under 28 U.S.C. § 1441(a) because this district and division

embrace the county in which the removed action has been pending.



                                            VIII.
                                   Procedural Requirements

   Defendants filed with the Clerk of the 126th Judicial District Court of Travis County, Texas, a

Notice of Filing Notice of Removal simultaneously with the filing of this Notice of Removal.

                                                IV.
                                          Other Materials

   In accordance with 28 U.S.C. § 1446(a), Defendants attach a copy of all process, pleadings,

and orders served upon them as well as the original and one copy of the civil cover sheet and

supplemental civil cover removal sheet.

                                                X.
                                              Prayer

   Defendants respectfully pray that this case be removed to the United States District Court for

the Western District of Texas, Austin Division.




DEFENDANTS’ NOTICE OF REMOVAL                                                                  Page 5
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                                            Respectfully submitted,

                                            FEE, SMITH, SHARP & VITULLO, L.L.P.

                                            /s/ Thomas W. Fee

                                            THOMAS W. FEE
                                            State Bar No. 06873160
                                            tfee@feesmith.com
                                            BEN NEWMAN
                                            State Bar No. 24099252
                                            bnewman@feesmith.com
                                            Three Galleria Tower
                                            13155 Noel Road, Suite 1000
                                            Dallas, Texas 75240
                                            972-980-3272
                                            972-934-9200 (facsimile)
                                            ATTORNEYS FOR NEUTRON HOLDINGS, INC.
                                            D/B/A LIMEBIKE AND/OR LIME SCOOTERS
                                            AND ZACHARY CARTER




                               CERTIFICATE OF SERVICE

   This will certify that a true and correct copy of the foregoing instrument has this 4th day of
June, 2019, been forwarded to all attorneys of record in this cause of action as follows:

Via Electronic Service
Neil Solomon
Jason Aldridge
John C. Zinda
Zinda & Davis, PLLC
8834 N. Capital of Texas Highway
Suite 304
Austin, TX 78759


                                            /s/ Thomas W. Fee

                                            THOMAS W. FEE




DEFENDANTS’ NOTICE OF REMOVAL                                                              Page 6
                                       Case 1:19-cv-00574-RP Document 1 Filed 06/04/19 Page 7 of 37
JS 44 (Rev. 06/17)                                                                CIVIL COVER SHEET
l11c JS 44 civil cover sheet and the informat ion contained herein neither replace nor s upplement the 111ing ond service of plead in!IS or other papers as required by law, except as
provided by local rules of court . This fonn , approved by the Judicial Conference of the United States in September 1974, is reqUired for the use of the Clerk of Court for the
purpose of initiating tbc civi l do cket sheet. (Siili INS'l'IIUCTIONS ON NEXT I'A OR OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                                      DEFENDANTS
    DOROTHY WALKER                                                                                                   NEUTRON HOLDINGS, INC., D/8/A LIMEBIKE AND/OR LIME
                                                                                                                     SCOOTERS, AND ZACHARY CARTER
        (b)   County of Residence of First Listed Plaintiff . . :T. .:.r=a..:.v.:. :is' --- - --      - - -           County of Residence of First Listed Defendant Reg . Agent- Dallas Co.
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                              (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                       NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                  THE TRACT OF LAND !NVOL VED.

        (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                      Attorneys (If Known)
John C. (Jack) Zinda, Neil Solomon, and Jason Aldridge, of Zinda Law                                                 Thomas W. Fee, and Ben Newman of Fee, Smith, Sharp & Vitullo,
Group, PLLC, 8834 North Capital ofTexas Highway, Suite 304, Austin,                                                  LLP, Three Galleria Tower, 13155 Noel Road, Suite 1000, Dallas,
Texas 78759.                                                                                                         Texas 75240.

II. BASIS OF JURISDICTION (Place an "X" inOneBaxonly)                                                   III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff
                                                                                                                   (For Diverslly Cases Only)                                               and One Box for Defendant)
0 I       U.S. Government                    0 3    Federal Question                                                                         PTF       DEF                                                 PTF      DEF
             Plaintiff                                (U.S. Government No/ a Party)                           Citizen of This State         !)( l       0        1     Incorporated or Principal Place      0 4      0 4
                                                                                                                                                                         of Business In This State

0 2       U.S. Government                    ~ 4    Diversity                                                 Citizen of Another State        0 2       r;J. 2         Incorporated and Principal Place        o   5   t:!l:5
             Defendant                                (Indicate Citizenship of Parties in Item Ill)                                                                       of Business In Another State

                                                                                                                                              0 3       0     3        Foreign Nation                          0 6     0 6

IV. NATURE OF SUIT (Pille~ an "X" in One Box Only)                                                                                                      Click here for: Nature of Suit Code De5criotions.
              CONTAAo:Jl                                                 TORTS                                  llORFtll'ft RF.n'ENA I..TV               DANKRUY CY                    OTllliRS'rATUTES
0    1I 0 Insurance                           PERSONAL INJURY                  PERSONAL INJURY             0 625 Drug Related Seizure             0 422 Appeal 28 USC !58                   0 375 False Claims Act
0    120 Marine                          0 310 Airplane                    0 365 Personal injury -                  of Property 21 USC 881        0 423 Withdrawal                          0 376 Qui Tam (31 USC
0    130 Miller Act                      0 315 Airplane Product                     Product Liability         0 690 Other                                   28   usc !57                             3729(a))
0    140 Negotiable Instrument                     Liability               0 367 Health Carel                                                                                               0   400 State Reapportionment
0    !50 Recovery of Overpayment         0 320 Assault, Libel &                  Phannaceutical                                                       PROPERTY'RI tl1IS_                    0   410 Antitrust
          & Enforcement of Judgment                Slander                       Personal Injury                                                  0 820 Copyrights                          0   430 Banks and Banking
0    !51 Medicare Act                    0 330 Federal Employers'                Product Liability                                                0 830 Patent                              0   450 Commerce
0    152 Recovery of Defaulted                     Liability               0 368 Asbestos Personal                                                0 835 Patent - Abbreviated                0   460 Deportation
          Student Loans                  0 340Marine                              Injury Product                                                            New Drug Application            0   470 Racketeer Influenced and
          (Excludes Veterans)            0 345 Marine Product                     Liability                                                       0 840 Trudcmnrk                                   Corrupt Organizations
0    t53 Recovery of Overpayment                   Liability                PERSONAL PROPERTY                              I..ABOR                    :SOCIA         ,:5E~ URITY            0   480 Consumer Credit
          ofVeteran's Benefits           0 350 Motor Vehicle               0 370 Other Fraud               0 71 0 Pair Lobor Standards            0   861 HIA ( 13950)                      0   490 Cable/Sat TV
0    160 Stockholders' Suits             0 355 Motor Vehicle               0 371 Truth in Lending                    Act                          0   862 Black Lung (923)                  0   850 Securities/Commodities/
0    190 Other Contract                           Product Liability        0 380 Other Personal            0 720 Labor/Management                 0   863 DIWC/DIWW (405(g))                         Exchange
0    195 Contract Product Liability      C!l: 360 Other Personal                 Property Damage                     Relations                    0   864 SSID Title XVI                    0   890 Other Statutory Actions
0    196 Franchise                                Injury                   0 385 Property Damage           0 740 Railway Labor Act                0   865 RSI (405(g))                      0   891 Agricultural Acts
                                         0 362 Personal injury -                 Product Liability         0 751 Family and Medical                                                         0   893 Environmental Matters
                                                  Medicut Malpmcticc                                              Leave Act                                                                 0   895 Freedom of Infonnarion
        REAL PROPERn'                              IVlLRI :UTS          1lRlSONER PE'IliT(QNS             I0 790 Other Labor Litigation               F.EDERAL TAX SUITS                             Act
0   210 Land Condemnation                0   440 Other Civil Rights       Habeas Corpus:                   0 791 Employee Retirement              0 870 Taxes (U.S. Plaintiff               0   896 Arbitration
0   220 Foreclosure                      0   441 Voting                0 463 Alien Detainee                      Income Security Act                    or Defendant)                       0   899 Administrative Procedure
0   230 Rent Lease & Ejectment           0   442 Employment            0 510 Motions to Vacate                                                    0 871 IRS-Third Party                             Act/Review or Appeal of
0   240 Torts to Land                    0   443 Housing/                    Sentence                                                                   26 usc 7609                                 Agency Decision
0   245 Tort Product Liability                   Accommodations        0 530 General                                                                                                        0   950 Constitutionality of
0   290 All Other Real Property          0   445 Amer. w/Disabiliries- 0 535 Death Penalty                       IMMIGRNftON                                                                        State Statutes
                                                 Employment               Other:                           0 462 Nntul:illizntion Applillllfion
                                         0   446 Amer. w/Disabiliries- 0 540 Mandamus & Other              0 465 Other Immigration
                                                 Other                 0 550 Civil Rights                        Actions
                                         0   448 Education             0 555 Prison Condition
                                                                       0 560 Civil Detainee·
                                                                             Conditions of
                                                                             Confinement

V. ORIGIN (Place an "X" in One Box Only)
0   l     Original           1:1:2.   Removed from              0    3    Remanded from               0 4 Reinstated or          0 5     Transferred from             0 6 Multidistrict               0 8 Multidistrict
          Proceeding                  Stale Court                         Appellate Court                  Reopened                      Another District                    Litigation -                  Litigation -
                                                                                                                                         (Sp<!C/(y)                          Transfer                      Direct File
                       Cite the U.S. Civil Statute under which you are filing (Do not citejllrlsdictiomtl stnlllleJ' IInl~s tliversity):
VI       CAUSEOFACTION~2~8~U~.~S~. C~.~S~ec~
                                           .~ 33~2~au______________________________________________________
                                             1~
     •                                        Brief description of cause :

vn.  REQUESTED IN     0                             CHECK IF THIS IS A CLASS ACTION                             DEMAND$                                          CHECK YES only if demanded in complaint:
     COMPLAINT:                                     UNDER RULE 23, F.R.Cv.P.                                                                                  JURY DEMAND:                       0 Yes       )1!No

VIII. RELATED CASE(S)
                                                   (See Ins/rue/Ions):
      IF ANY                                                               JUDGE                                                                      DOCKET NUMBER



                          NLV

    RECEIPT#                          AMOUNT                                      APPLYING IFP                                       JUDGE                                   MAG. JUDGE
                                                                                                                                                                                                - -- - - -- -
                 Case 1:19-cv-00574-RP Document 1 Filed 06/04/19 Page 8 of 37
                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN            DIVISION

                                      Supplement to JS 44 Civil Cover Sheet
                                     Cases Removed from State District Court

This form must be filed with the Clerk's Office no later than the first business day following
the filing of the Notice of Removal. Additional sheets may be used as necessary.

                  The attorney of record for the removing party MUST sign this form.
STATE COURT INFORMATION:
1. Please identify the court from which the case is being removed; the case number; and the complete
   style of the case.

    Court: 126th Judicial District Court, Travis County, Texas   Cause No.: D-1-GN-19-002433

    DOROTHY WALKER vs. NEUTRON HOLDINGS, INC. d/b/a LIMEBIKE and/or LIME SCOOTERS and ZACHARY CARTER




2. Was jury demand made in State Court?                      Yes   D               No     ~
   If yes, by which party and on what date?


   Party Name                                                                               Date




STATE COURT INFORMATION:
1. List all plaintiffs, defendants, and intervenors still remaining in the case. Also, please list the
   attorney(s) of record for each party named and Include the attorney's firm name, correct mailing
   address, telephone number, and fax number (including area codes).
    Party and Party Type:                                              Counsel for Plaintiff:

    Dorothy Walker, Plaintiff                                          John C. Zinda
                                                                       Neil Solomon
                                                                       Jason Aldridge
                                                                       Zinda Law Group, PLLC
                                                                       8834 North Capital ofTexas Highway, Suite 304
                                                                       Austin, TX 78759
                                                                       PH: (512) 246-2224
                                                                       Fax: (512)58D-4252

    Neutron Holdings, Inc., d/b/a Limebike                             Counsel for Defendants:
    and/or Lime Scooters, and
    Zachary Carter                                                     Thomas W. Fee
                                                                       Benjamin J. Newman                              II



  TXWD- Supplement to JS 44 (Rev. 10/2004)
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 2. List all parties that have not been served at the time of the removal, and the reason(s) for
    non-service.

     N/A




 3. List all parties that have been non-suited, dismissed, or terminated, and the reason(s) for their
    removal from the case.

     N/A




COUNTERCLAIMS, CROSS-CLAIMS, and/or THIRD-PARTY CLAIMS:
 1. List separately each counterclaim, cross-claim, or third-party claim still remaining in the case and
    designate the nature of each such claim. For each counterclaim, cross-claim, or third-party claim,
    include all plaintiffs, defendants, and Intervenors still remaining in the case. Also, please list the
    attorney(s) of record for each party named and include the attorney's firm name, correct mailing
    address, telephone number, ahd fax number (including area codes).
     N/A




VERIFICATION:


     /s/ Benjamin J. Newman                                                       06/04/2019
    Attorney for Removing Party                                                   Date



     Neutron Holdings,Inc. dba Limeblke and/or Lime Scooters,and Zachary CartED
    Party/Parties




TXWD- Supplement to JS 44 (Rev. 10/2004)
              Case 1:19-cv-00574-RP Document 1 Filed 06/04/19 Page 10 of 37
                                                                                           5/2/2019 5:21 PM
                                                                                                           Velva L. Price
                                                                                                          District Clerk
                                                    D-1-GN-19-002433                                      Travis County
                                    CAUSE NO. _ _ _ _ _ _ __                                           D-1-GN-19-002433
                                                                                                           Ruben Tamez




                                                                                                     e
      DOROTHY WALKER                                       §                 IN THE DISTRICT COURT




                                                                                                  ic
                                                           §




                                                                                              Pr
             Plaintiff,                                    §
                                                           §          126TH
       v.                                                  §            _ _ _ JUDICIAL DISTRICT




                                                                                           L.
                                                           §
  NEUTRON HOLDINGS, INC., D/B/A                            §




                                                                                         a
  LIMEBIKE AND/OR LIME SCOOTERS,                           §




                                                                                      lv
  ET AL.                                                   §




                                                                                Ve
                                                           §
                                                           §
             Defendants.                                  §                   TRAVIS COUNTY, TEXAS




                                                                            k
                                                                        er
              PLAINTIFF'S ORIGINAL PETITION & REQUEST FOR DISCOVERY




                                                                    Cl
            Plaintiff Dorothy Walker comes before this Court to assert the following factual allegations

                                                               ct
 and causes of action against Defendants Neutron Holdings, Inc., d/b/a LimeBike and/or Lime
                                                          tri
 Scooters and Zachary Carter.
                                                      is
                                                 .D


                                               I.     DISCOVERY
                                            Co




 I.         Plaintiff Dorothy Walker pleads that discovery in this matter shall be conducted pursuant

            to TEX. R. C1v. P. 190.4 (Level III).
                                      is
                                 av




                                      II.     PARTIES AND SERVICE
                            Tr




 2.         Plaintiff Dorothy Walker ("Walker") is a natural person and resident of Travis County,

            Texas. The last three digits of Plaintiff Walker's Social Security and Texas Identification
                       y
                    op




            numbers are 463 and 623, respectively.
            lc




 3.         Defendant Neutron Holdings. Inc .• d/b/a LimeBike and/or Lime Scooters ("Lime") is a
          ia




            corporation organized under the laws of Delaware. Defendant Lime may be served by
       fic




            serving a copy of the citation and Petition upon its Registered Agent, C T Corporation
  of




            System at I 999 Bryan St., Ste. 900, Dallas, TX 75201.
Un




 PLAINTIFF'S ORIGINAL PETITION & REQUEST FOR DISCOVERY
 Dorothy Walker v. Neutron Holtliugs, Inc., dlh/a lime Bike aml/or Lime Scooters, et al.
 Page I of II
            Case 1:19-cv-00574-RP Document 1 Filed 06/04/19 Page 11 of 37



 4.       Defendant Zachary Carter ("Carter") is a natural person and resident of Travis County,




                                                                                                     e
          Texas. Defendant Carter may be served with process at his residence, located at 1803




                                                                                                  ic
                                                                                               Pr
          Nueces St., Austin, TX 78701, or wherever he may be found.

                                     III.     MISNOMER/ALTER EGO




                                                                                             L.
 5.       In the event any parties are misnamed or are not included herein, Plaintiff Walker contends




                                                                                           a
                                                                                        lv
          that such was a "misidentification," "misnomer," and/or such parties are/were "alter egos"




                                                                                  Ve
          of parties named herein.




                                                                              k
                                                                          er
                                    IV.     AGENTS AND EMPLOYEES




                                                                     Cl
 6.       Whenever alleged in this Petition that any non-natural Defendant did or failed to do any



                                                                ct
          act or thing, it is meant that such Defendant's directors, officers, agents, servants,
                                                            tri
          employees, representatives, and/or contractors subject to such Defendant's control did or
                                                        is

          failed to do such act or thing and that at the time such conduct occurred, it occurred with
                                                  .D



          the authorization and/or ratification of such Defendant and/or was done in the normal and
                                            Co




          routine course and scope of employment or agency of such Defendant's directors, officers,
                                       is




          agents, servants, employees, representatives, and/or contractors subject to such
                                  av




          Defendant's control making that Defendant responsible and liable for all such conduct.
                             Tr




          Plaintiff Walker invokes the doctrine of respondeat superior.
                       y




                                    V.      JURISDICTION AND VENUE
                    op




 7.       This Court has subject matter jurisdiction over this lawsuit. Plaintiff Walker's claims
           lc




          involve Texas statutory and common law. The amount in controversy is within this Court's
         ia
      fic




         jurisdictional limit.
  of




 8.       This Court has personal jurisdiction over the parties. All the parties are either individuals
Un




          or corporate residents of the State of Texas, have sufficient minimum contacts with the


 PLAINTIFF'S ORIGINAL PETITION & REQUEST FOR DISCOVERY
 Dorothy U'alker v. Neutron Holdings, Inc., d/b/a LimeBike au,l/or Lime Scooter.1t, et al.
 Page 2 of 11
            Case 1:19-cv-00574-RP Document 1 Filed 06/04/19 Page 12 of 37



           State of Texas, and/or have purposefully availed themselves of the laws and markets of the




                                                                                                       e
           State of Texas so as to not offend traditional notions of fair play and substantial justice.




                                                                                                    ic
                                                                                                Pr
 9.       This Court is the proper venue to hear this lawsuit pursuant to TEX. Clv. PRAC. & RE1'L

          CODE § 15.002(a) because the events giving rise to this lawsuit occurred in Travis County,




                                                                                               L.
          Texas.




                                                                                            a
                                                                                         lv
                                     VI.      CONDITIONS PRECEDENT




                                                                                   Ve
 10.      All conditions precedent have been performed or have occurred.




                                                                                k
                                                                           er
                                                  VII.      FACTS




                                                                      Cl
 11.      Defendant Lime is in the business of renting motorized electric scooters (hereinafter



                                                                 ct
          referred to as "Lime Scooters") to the general public through an application downloaded
                                                            tri
          and installed onto customers• smartphones.
                                                         is

 12.      Defendant Lime deploys Lime Scooters onto public streets and sidewalks in metropolitan
                                                  .D



          areas such as Austin, Texas, and allows members of the public with a smartphone to rent
                                            Co




          Lime Scooters for a fee charged to the user's credit or debit card.
                                       is




 13.      Defendant Lime provides minimal instruction or training to the users of Lime Scooters.
                                  av




 14.      Defendant Carter is the Operations Manager for Defendant Lime's operations in Austin,
                             Tr




          Texas and the surrounding areas. His job responsibilities include, but are not limited to,
                       y




          overseeing mechanical and maintenance operations for Defendant Lime.
                    op




 15.      Upon completion of a ride, users abandon the rented Lime Scooters at any location.
            lc




          including public and private property, to be rented by the next potential customer.
          ia
       fic




 16.      Upon information and beliet Lime Scooters remain in a constant state of circulation and
  of




          are generally removed from public use only to be charged by independent contractors, who
Un




          then redeploy the scooters into the public after charging.


 PLAINTIFF'S ORIGINAL PETITION & REQUEST FOR DISCOVERY
 Dorothy 1Jlalker v. l'leutro11 Holdings, l11c., d/b/a limeBike and/or Lime Scooters, et al.
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  17.     Upon information and belief, Lime Scooters do not undergo regular or routine




                                                                                                     e
          maintenance, but are removed from public circulation only if malfunctions are reported




                                                                                                  ic
                                                                                               Pr
          directly to Defendant Lime by members of the public.

 18.      Other than during charging or irregular maintenance, Lime Scooters are left outdoors,




                                                                                             L.
          exposing them to the elements, which subjects Lime Scooters to excessive wear and tear




                                                                                           a
                                                                                        lv
          and the degradation of the physical integrity of the scooters.




                                                                                  Ve
 19.      An investigation performed by Consumer Reports stated that between the time Defendant




                                                                              k
                                                                          er
          Lime released its scooters on city streets in July 2017 and February 2019, at least 1,500




                                                                     Cl
          people in the United States had been injured in electric scooter crashes.



                                                                ct
 20.      On or about August 14, 2018, Plaintiff Walker rented and used a Lime Scooter for the first
                                                           tri
          time.
                                                       is

 21.      Defendant Lime provided minimal instruction and training to Plaintiff Walker regarding
                                                  .D



          the use of Lime Scooters prior to her first use of a Lime Scooter.
                                            Co




 22.      Plaintiff Walker was traveling on a Lime Scooter west on 11th Avenue in Austin, Texas,
                                      is




          approaching the intersection with Congress Avenue. Plaintiff Walker was riding the
                                 av




          scooter on the north sidewalk, next to the grounds of the State Capitol.
                             Tr




 23.      Plaintiff Walker was riding the scooter in a reasonable and prudent manner and was
                        y




          exercising ordinary care for her safety at all relevant times.
                     op




 24.      As Plaintiff Walker accelerated down 11th Avenue, she became uncomfortable with the
             lc




          speed of her scooter. She tried to slow down but quickly realized that the scooter's brakes
           ia
        fic




          did not work as expected. As Plaintiff Walker struggled to stop her out-of-control scooter,
  of




          the scooter tipped over, throwing her face-first into the wrought iron gates surrounding the
Un




          Capitol.


 PLAINTIFF'S ORIGINAL PETITION & REQUEST FOR DISCOVERY
 Dorothy Walker v. I'Veutro11 Holdings, Inc., tllbla LimeBike and/or Lime Scooters, et al.
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 25.      Plaintiff Walker suffered multiple facial fractures, a damaged tear duct, two broken ribs,




                                                                                                     e
          and her nose was nearly severed from her face. She spent three days in the hospital,




                                                                                                  ic
                                                                                              Pr
          underwent emergency reconstructive surgery, and will require additional reconstructive

          plastic surgery.




                                                                                             L.
 26.      Upon information and belief, Defendant Lime was aware at the time of Plaintiff Walker's




                                                                                          a
                                                                                       lv
          crash of a bug in the Lime Scooter software that caused sudden excessive braking during




                                                                                  Ve
          use.




                                                                              k
 27.      Upon information and belief, Defendant Lime was aware prior to Plaintiff Walker's crash




                                                                          er
                                                                     Cl
          that the mechanical function of the braking system routinely failed.



                                                                ct
 28.      Upon information and belief, Defendant Lime was aware prior to Plaintiff Walker's crash
                                                           tri
          that Defendant Lime's maintenance practice of adjusting the mechanical function of the
                                                       is

          brakes did not prevent brake failures.
                                                 .D


 29.      Defendant Lime was aware prior to Plaintiff Walker's crash that Lime Scooters suffered
                                           Co




          regular mechanical issues, including but not limited to, brake failure, sudden and
                                        is




          unexpected braking, and sticking accelerators.
                                 av




 30.      Defendant Lime did not warn the public of the dangerous conditions caused by the above-
                             Tr




          listed mechanical and software malfunctions in its scooters, nor take actions to remedy the
                      y




          dangerous conditions.
                   op




                                        VIII. CAUSES OF ACTION
            lc




                                   A.       Negligence of Defendant Lime
          ia
       fic




 31.      Plaintiff Walker repleads the foregoing factual allegations as if here quoted verbatim and
  of




          set forth herein at length.
Un




 PLAINTIFF'S ORIGINAL PETITION & REQUEST FOR DISCOVERY
 Dorothy 1Valker v. Neutron llo/di11gs, Inc., dlb/a LimeBike and/or lime Scooter.~, et al.
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 32.      At the time of Plaintiff Walker's crash, the Lime Scooter involved was owned and within




                                                                                                 e
          the control of Defendant Lime. Therefore, Defendant Lime owed duties of ordinary care to




                                                                                              ic
                                                                                           Pr
          Plaintiff.

 33.      Defendant Lime's conduct as outlined above breached those duties through various acts




                                                                                         L.
          and/or omissions, including the following, each of which singularly or in combination with




                                                                                       a
                                                                                    lv
          others, constitute acts of negligence that were a direct and proximate cause of the




                                                                              Ve
          occurrence in question and the resulting injuries or damages set forth herein:




                                                                           k
                  a.       Refusing to diligently service and maintain the subject Lime Scooter;




                                                                       er
                                                                  Cl
                  b.       Failing to provide proper instruction or training to Plaintiff Walker or other



                                                             ct
                           users of Lime Scooters;       tri
                  c.       Knowingly putting Lime Scooters in the stream of commerce that had not
                                                     is

                           been reasonably serviced and/or maintained;
                                                .D



                  d.       Refusing to warn its consumers of dangerous conditions in Lime Scooters
                                          Co




                           in a timely manner after learning of the software and/or mechanical defects;
                                     is




                  e.       Putting unreasonably dangerous Lime Scooters with known software and/or
                                av




                           mechanical defects in the stream of commerce for consumer use;
                            Tr




                  f.       Refusing to utilize available information regarding software and/or
                      y




                           mechanical defects to properly monitor Lime Scooters, including the
                   op




                          subject Lime Scooter, to ensure the safety of consumers;
            lc




                  g.       Refusing to utilize available technology to monitor and audit the safety
          ia
       fic




                          performance of Lime Scooters placed in the stream of commerce, including
  of




                          the subject Lime Scooter;
Un




 PLAINTIFF'S ORIGINAL PETITION & REQUEST FOR DISCOVERY
 Dorothy Walker v. Neutron Holdings, Inc., d/b/a limeBike and/or Lime Scooters, et al.
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                   h.       Refusing to ensure the subject Lime Scooter was in proper working order




                                                                                                    e
                            and free from any software and/or mechanical defects; and




                                                                                                 ic
                                                                                              Pr
                   1.       Refusing to put in place proper guidelines to ensure the subject Lime

                            Scooter was not placed in an unsafe area for consumer use.




                                                                                            L.
 As a direct and proximate result of the foregoing acts and/or omissions, Plaintiff Walker suffered




                                                                                          a
                                                                                       lv
 personal injuries and resulting damages in an amount to be determined at trial.




                                                                                 Ve
                               B.       Gross Negligence of Defendant Lime




                                                                             k
 34.      Plaintiff Walker rep leads the foregoing factual allegations as if here quoted verbatim and




                                                                         er
                                                                    Cl
          set forth herein at length.



                                                               ct
 35.      At the time of Plaintiff Walker's crash, Defendant Lime knew of software and/or
                                                           tri
          mechanical defects that caused brake problems in Lime Scooters and rendered such
                                                       is

          scooters unreasonably dangerous.
                                                 .D



 36.      Defendant Lime consciously refused to warn its consumers of the dangerous brake
                                           Co




          condition caused by software and/or mechanical defects, of which it had actual knowledge
                                      is




          prior to Plaintiff Walker's crash.
                                 av




 37.      Defendant Lime continued to place unreasonably dangerous Lime Scooters into the stream
                             Tr




          of commerce despite the known danger posed to consumers.
                      y




 38.      This conduct, when viewed objectively from the standpoint of Defendant Lime at the time
                   op




         of Plaintiff Walker's crash involved an extreme degree of risk, considering the probability
            lc




         and magnitude of the potential harm to others. Additionally, Defendant Lime had actual,
          ia
       fic




         subjective awareness of the risk involved, but nevertheless proceeded with conscious
  of




          indifference to the rights, safety, or welfare of others, including that of Plaintiff Walker.
Un




 PLAINTIFF'S ORIGINAL PETITION & REQUEST FOR DISCOVERY
 Dorothy Jt'alker v. Neutron Holdings, Inc., d/b/a Lime Bike and/or Lime Scooters, et al.
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          The foregoing acts constitute gross negligence as that term is defined in TEX. C1v. PRAC.




                                                                                                     e
          & REM. CODE § 41.001. Such gross negligence was the proximate cause of the injuries




                                                                                                  ic
                                                                                              Pr
          Plaintiff Walker sustained. Defendant Lime's acts and omissions, whether taken separately




                                                                                             L.
          and/or collectively, constituted a direct and proximate cause of the crash in question and

          the resulting damages Plaintiff Walker sustained.




                                                                                          a
                                                                                       lv
                                   C.       Negligence of Defendant Carter




                                                                                  Ve
 39.      Plaintiff Walker repleads the foregoing factual allegations as if here quoted verbatim and




                                                                              k
                                                                          er
          set forth herein at length.




                                                                     Cl
 40.      At the time of Plaintiff Walker's crash, Defendant Carter was the Operations Manager for



                                                                ct
          Defendant Lime's operations in Austin, Texas.    tri
 41.      At all times relevant herein, Defendant Carter supervised all maintenance and repair
                                                       is

          operations at Defendant Lime's Austin warehouse.
                                                 .D



 42.      Defendant was responsible for the maintenance and repair of the Austin fleet of Lime
                                           Co




          Scooters for Defendant Lime, including maintenance and repair of the Lime Scooter ridden
                                        is




          by Plaintiff Walker at the time of the crash made the basis of this suit.
                                 av




 43.      At all times relevant herein, Defendant Carter, as the employee of Defendant Lime with
                             Tr




          the primary duty to oversee maintenance and repair of Lime Scooters in Austin, had a duty
                      y




          to maintain and repair Lime Scooters in Austin in a reasonable manner to ensure the safety
                   op




          of consumers and the general public.
            lc




 44.      Defendant Carter's conduct as outlined above breached those duties through various acts
          ia
       fic




          and/or omissions, including the following, each of which singularly or in combination with
  of




          others, constitute acts of negligence that were a direct and proximate cause of the
Un




          occurrence in question and the resulting injuries or damages set forth herein:


 PLAINTIFF'S ORIGINAL PETITION & REQUEST FOR DISCOVERY
 Dorothy Walker v. Neutron Holtlings, l11L·., d/h/a Lime Bike and/or Lime Scooters, et al.
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                    a.        Refusing to design, develop, and implement adequate maintenance and




                                                                                                         e
                              repair controls related to known software and/or mechanical defects;




                                                                                                      ic
                                                                                                   Pr
                    b.        Refusing to train Defendant Lime's employees regarding how to find and

                             repair defects in Lime Scooters before placing such scooters in the stream




                                                                                                 L.
                             of commerce;




                                                                                               a
                                                                                            lv
                    c.       Refusing to properly monitor and/or supervise maintenance and repair




                                                                                      Ve
                             operations at Defendant Lime's Austin warehouse;




                                                                                  k
                                                                             er
                    d.       Refusing to utilize available information regarding software and/or




                                                                         Cl
                             mechanical defects to properly monitor Lime Scooters in Austin, including



                                                                   ct
                             the subject Lime Scooter, to ensure the safety of consumers and the public
                                                              tri
                             at large;
                                                          is

                    e.       Refusing to warn consumers of dangerous conditions in Lime Scooters in a
                                                    .D



                             timely manner after learning of software and/or mechanical defects;
                                              Co




                    f.       Refusing to utilize available technology to monitor and audit the safety
                                         is




                             performance of Lime Scooters dispatched from Defendant Lime's Austin
                                   av




                             warehouse and placed in the stream of commerce, including the subject
                              Tr




                             Lime Scooter; and
                        y




                    g.       Negligently hiring, training, and superv1smg maintenance personnel m
                     op




                             Defendant Lime's Austin warehouse.
            lc




 45.      As a direct and proximate result of the foregoing acts and/or omissions, Plaintiff Walker
          ia
       fic




          suffered personal injuries and resulting damages in an amount to be determined at trial.
  of
Un




 PLAINTIFF'S ORIGINAL PETITION & REQUEST FOR DISCOVERY
 Dorothy Jfla/ker l'. Neutron Ho/i/i11gs, bu·., tllhla lime Bike and/or lime Sl·ooters, et al.
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                                                IX.      DAMAGES




                                                                                                     e
 46.      As a direct and proximate result of the collision made the basis of this lawsuit, Plaintiff




                                                                                                  ic
                                                                                               Pr
           Walker suffered and will in all reasonable probability continue to suffer the following

          actual damages, the dollar value of which exceeds the minimal jurisdictional limits of this




                                                                                             L.
          Court:




                                                                                           a
                                                                                        lv
                   a.       Medical treatment paid or incurred in the past;




                                                                                  Ve
                   b.       Medical treatment which will be necessary in the future;




                                                                              k
                            Past and future pain and suffering;




                                                                          er
                   C.




                                                                     Cl
                   d.       Past and future mental anguish;



                                                                ct
                   e.       Physical disfigurement;        tri
                   f.       Past and future impairment;
                                                        is

                   g.       Lost wages; and
                                                  .D


                   h.       Loss of past and future earning capacity.
                                            Co




 47.      Pursuant to TEX. R. Crv. P. 47, Plaintiff Walker seeks monetary relief over $1,000,000.
                                       is




          Plaintiffs counsel offers this statement for informational purposes only as required by TEX.
                                 av




          R. Crv. P. 4 7 and reserves the right to change or amend it as the evidence deems necessary.
                             Tr




          The amount of monetary relief actually awarded, however, will ultimately be determined
                       y




          by a jury. Plaintiff Walker also seeks pre-judgment and post-judgment interest at the
                    op




          highest legal rate.
            lc




                                     X.     TEX. R. Crv. P. 193.7 NOTICE
          ia
       fic




 48.      Pursuant to TEX. R. Crv. P. 193.7, Plaintiff Walker hereby gives notice of intent to utilize
  of




          items produced in discovery against the producing party.
Un




 PLAINTIFF'S ORIGINAL PETITION & REQUEST FOR DISCOVERY
 Dorothy Walker v. Neutron Holdings, l11c., dlb/a limeBike 111111/or lime Scooters, et al.
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                                               XI.     DISCOVERY




                                                                                                     e
 49.       Pursuant to TEX. R. C 1v . P. 194, Pla intiff Walker requests that Defendants disclose, within




                                                                                                  ic
                                                                                              Pr
          50 days of the service of this request, the informatio n o r material described in TEX. R. Clv.

          P. 194.2.




                                                                                             L.
                                                XII.      PRAYER




                                                                                          a
                                                                                       lv
          WHEREFORE, Plaintiff Wa lker prays that Defendants be cited according to law to appear




                                                                                  Ve
 and answer herein, and that upon fina l trial, Plaintiff Walker have judgment against De fendants as




                                                                              k
 fo llows:




                                                                         er
                                                                     Cl
                   1.       An award of actual damages;



                                                                ct
                   2.       An award o f pre-judgment interest;
                                                             tri
                   3.       An award of post-judgment interest;
                                                       is

                   4.       And other re lie f the Court determines is just under the circumstances.
                                                 .D



                                                       Respectfully submitted,
                                           Co




                                                       Z inda Law Group, PLLC
                                                       88 34 North Capital of Texas Highway
                                      is




                                                       Suite 304
                                 av




                                                       Austin, Texas 78759
                                                       (5 12) 246-2224 Office
                             Tr




                                                       (5 12) 580-4252 FAX
                                                       Service of Documents: service@hzfirm.com
                      y
                   op




                                                       By:
          lc




                                                             JohnC.(hck) Z inda
                                                             State Bar No. 24053569
        ia




                                                             Neil Solomo n
                                                             State Bar No. 24079369
     fic




                                                             Jason Aldridge
                                                             State Bar No. 2408991 l
  of
Un




                                                             ATTORNEYS FOR PLAINTIFF
                                                             DOROTHY WAL KER

 PLAINTIFF'S ORIG INAL PETITION & REQU EST FOR DISCOV ERY
 Dorothy Walker v. Ne11tro11 Holdi11gs, Inc., d/h/a lime Bike and/or lime Scooters, et al.
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                                                                      Service of Process
                                                                      Transmittal
                                                                      05/10/2019
                                                                      CT Log Number 535463740
TO:     JESSE MURRAY
        NEUTRON HOLDINGS, INC.
        85 2ND ST FL 1
        SAN FRANCISCO, CA 94105-3459

RE:     Process Served in Texas

FOR:    NEUTRON HOLDINGS, INC. (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                DOROTHY WALKER, PLTF. vs. NEUTRON HOLDINGS, INC., ETC., ET AL., DFTS.
DOCUMENT(S) SERVED:             .
COURT/AGENCY:                   ., .
                                Case # D1GN19002433
NATURE OF ACTION:               Personal Injury - Failure to Maintain Premises in a Safe Condition
ON WHOM PROCESS WAS SERVED:     National Registered Agents, Inc., Dallas, TX
DATE AND HOUR OF SERVICE:       By Process Server on 05/10/2019 at 13:38
JURISDICTION SERVED :           Texas
APPEARANCE OR ANSWER DUE:       by 10:00 A.M. on the Monday next following the expiration of 20 days after you
                                were served this citation and petition
ATTORNEY(S) / SENDER(S):        .
                                .
                                ., . .
ACTION ITEMS:                   CT has retained the current log, Retain Date: 05/14/2019, Expected Purge Date:
                                05/19/2019

                                Image SOP

                                Email Notification, Neutron Holdings Inc Auto Processing
                                 ct_support@wolterskluwer.com

SIGNED:                         National Registered Agents, Inc.
ADDRESS:                        1999 Bryan Street
                                Suite 900
                                Dallas, TX 75201
TELEPHONE:                      214-932-3601




                                                                      Page 1 of 1 / RA
                                                                      Information displayed on this transmittal is for CT
                                                                      Corporation's record keeping purposes only and is provided to
                                                                      the recipient for quick reference. This information does not
                                                                      constitute a legal opinion as to the nature of action, the
                                                                      amount of damages, the answer date, or any information
                                                                      contained in the documents themselves. Recipient is
                                                                      responsible for interpreting said documents and for taking
                                                                      appropriate action. Signatures on certified mail receipts
                                                                      confirm receipt of package only, not contents.
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                                                   CITATION
                                       THE      STATE         OF         TEXAS
                                           CAUSE NO. D-1-GN-19-002433
  !«

DOROTHY WALKER
                                                                                                    , Plaintiff
       VS .
NEUTRON HOLDINGS, INC. D/B/A LIMEBIKE AND/OR LIME SCOOTERS ET AL.
                                                                                                    , Defendant

TO:    NEUTRON HOLDINGS, INC D/B/A LIMEBIKE AND/OR LIME SCOOTERS,
       BY SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM
       1999 BRYAN STREET, SUITE 900
       DALLAS, TEXAS 75201

Defendant, in the above styled and numbered cause:
                     ■i.

YOU HAVE BEEN SUED.   You may employ an attorney,   If you or your attorney do not file a written
answer with the clerk who issued this citation by 10:00 A.M. on the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you.

Attached is a copy Of the PLAINTIFFS ORIGINAL PETITION AND REQUEST FOR DISCOVERY of the PLAINTIFF
in the above styled and numbered cause, which was filed on MAY 02, 2019 in the 126TH JUDICIAL
DISTRICT COURT of Travis County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, Mav08.20l9.

REQUESTED BY:                                                      W                                    \
JOHN CLAYTON ZINDA
8834 N CAPITAL OF TEXAS HWY STE 304
AUSTIN, TX 78759                                                          Velva L. Price
BUSINESS PHONE:{512)246-2224 FAX: (512) 369-6961                          Travis County District Clerk
                                                                          Travis County Courthouse
                                                                          1000 Guadalupe, P.O. Box 679003 (78767)
                                                                          Austin, TX 78701

                                                                         PREPARED BY: RUBEN TAMEZ

                                                    RETURN
Came to hand on the           day of                                      at           o' clock       M., and
executed at                                                                    within the County of
_________________________ on the ___      day of                                    , at            o' clock      M.,
by delivering to the within named                                                                               , each
in person, a true copy of this citation together with the PLAINTIFFS ORIGINAL PETITION AND REQUEST
FOR DISCOVERY, LAWYER REFERRAL accompanying pleading, having first attached such copy of such
citation to such copy of pleading and endorsed on such copy of citation the date of delivery.

Service Fee: S
                                                                   Sheriff / Constable / Authorized Person
Sworn to and subscribed before me this the
                                                                   By:
        day of____
                                                                   Printed Name of Server


                                                                                                        County, Texas
Notary Public, THE STATE OF TEXAS                                                          " N

D-l-GN-19-002433                                       SERVICE FEE NOT PAID                           P01 - 000077572
0 Original            0Service Copy
                 Case 1:19-cv-00574-RP Document 1 Filed 06/04/19 Page 23 of 37
                                                                      5/2/2019 5:21 PM
                                                                                                        Velva L. Price
U                                                                                                       District Clerk
                                                D-1-GN-19-002433                                       Travis County
                                        CAUSE NO.                                                    D-1-GN-19-00243-
                                                                                                         Ruben Tame:
         DOROTHY WALKER                                     §                 IN THE DISTRICT COURT
                                                            §
                 Plaintiff,                                 §
                                                            §          126TH
           v.                                               §                        JUDICIAL DISTRICT
                                                            §
         NEUTRON HOLDINGS, INC., D/B/A                      §
         LIMEBIKE AND/OR LIME SCOOTERS,                     §
         E l AL.                                            §
                                                            §
                                                            §
                 Defendants.                                §                 TRAVIS COUNTY, TEXAS

                  PLAINTIFFS ORIGINAL PETITION & REQUEST FOR DISCOVERY

                Plaintiff Dorothy Walker comes before this Court to assert the following factual allegations

    and causes of action against Defendants Neutron Holdings, Inc., d/b/a LimeBike and/or Lime

    Scooters and Zachary Carter. '

                                                  I.    DISCOVERY

                Plaintiff Dorothy Walker pleads that discovery in this matter shall be conducted pursuant

                to Tex. R. Civ. P. 190.4 (Level III).

                                         II.    PARTIES AND SERVICE

                Plaintiff Dorothy Walker (“Walker”) is a natural person and resident of Travis County,

                Texas. The last three digits of Plaintiff Walker’s Social Security and Texas Identification

                numbers are 463 and 623, respectively.

    3.          Defendant Neutron Holdings. Inc., d/b/a LimeBike and/or Lime Scooters ("Lime’*) is a

                corporation organized under the laws of Delaware. Defendant Lime may be served by

                serving a copy of the citation and Petition upon its Registered Agent. C T Corporation

                System at 1999 Bryan St., Ste. 900, Dallas. TX 75201.



    PLAINTIFF S ORIGINAL PETITION & REQUEST FOR DISCOVERY
    Dorothy Walker v. Neutron Holdings, hie., d/b/a LimeBike ami/or Lime Scooters, et ah
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IfJ



      4.       Defendant Zachary Carter (“Carter”) is a natural person and resident of Travis County,

               Texas. Defendant Carter may be served with process at his residence, located at 1803

               Nueces St., Austin, TX 78701, or wherever he may be found.

                                         III.    MISNOMER/ALTER EGO

      5.       In the event any parties are misnamed or are not included herein, Plaintiff Walker contends

               that such was a “misidentification,” “misnomer,” and/or such parties are/were “alter egos"

               of parties named herein.

                                       IV.      AGENTS AND EMPLOYEES

      6.       Whenever alleged in this Petition that any non-natural Defendant did or failed to do any

               act or thing, it is meant that such Defendant’s directors, officers, agents, servants,

               employees, representatives, and/or contractors subject to such Defendant’s control did or

               failed to do such act or thing and that at the time such conduct occurred, it occurred with

               the authorization and/or ratification of such Defendant and/or was done in the normal and

               routine course and scope of employment or agency of such Defendant's directors, officers.

               agents, servants, employees, representatives, and/or contractors subject to such

               Defendant's control making that Defendant responsible and liable for all such conduct.

               Plaintiff Walker invokes the doctrine of respondeat superior.

                                        V.      JURISDICTION AND VENUE

      7.      This Coun has subject matter jurisdiction over this lawsuit. Plaintiff Walker’s claims

               involve Texas statutory and common law. The amount in controversy is within this Court's

              jurisdictional limit.

      8.      This Court has personal jurisdiction over the parties. All the parties are either individuals

              or corporate residents of the State of Texas, have sufficient minimum contacts with the


      PLAINTIFF’S ORIGINAL PETITION & REQUEST FOR DISCOVERY
      Dorothy Walker v. Neutron Holdings, Inc., d/b/a LimeBike and/or Lime Scooters, et al.
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M

             Slate of Texas, and/or have purposefully availed themselves of the laws and markets of the

             State of Texas so as to not offend traditional notions of fair play and substantia! justice.

     9.      This Court is the proper venue to hear this lawsuit pursuant to Tex. Civ. Prac. & Rem.

             Code § 15.002(a) because the events giving rise to this lawsuit occurred in Travis County

             Texas.

                                     VI.     CONDITIONS PRECEDENT

     10.     All conditions precedent have been performed or have occurred.

                                                 VII.      FACTS

             Defendant Lime is in the business of renting motorized electric scooters (hereinafter

             referred to as “Lime Scooters”) to the general public through an application downloaded

             and installed onto customers' smartphones.

     12.     Defendant Lime deploys Lime Scooters onto public streets and sidewalks in metropolitan

             areas such as Austin, Texas, and allows members of the public with a smartphone to rent

             Lime Scooters for a fee charged to the user’s credit or debit card.

    13.      Defendant Lime provides minimal instruction or training to the users of Lime Scooters.

    14.      Defendant Carter is the Operations Manager lor Defendant Lime's operations in Austin,

            Texas and the surrounding areas. His job responsibilities include, but are not limited to.

            overseeing mechanical and maintenance operations for Defendant Lime.

    15.     Upon completion of a ride, users abandon the rented Lime Scooters at any location.

            including public and private property, to be rented by the next potential customer.

    16.     Upon information and belief. Lime Scooters remain in a constant state of circulation and

            are generally removed from public use only to be charged by independent contractors, who

            then redeploy the scooters into the public after charging.


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 17.      Upon information and belief, Lime Scooters do not undergo regular or routine

         maintenance, but are removed from public circulation only if malfunctions are reported

         directly to Defendant Lime by members of the public.

 IS.     Other than during charging or irregular maintenance, Lime Scooters are left outdoors,

         exposing them to the elements, which subjects Lime Scooters to excessive wear and tear

         and the degradation of the physical integrity of the scooters.

 19.     An investigation performed by Consumer Reports stated that between the time Defendant

         Lime released its scooters on city streets in July 2017 and February 2019. at least 1.500

         people in the United States had been injured in electric scooter crashes.

20.      On or about August 14, 2018, Plaintiff Walker rented and used a Lime Scooter for the first

         time.

21.      Defendant Lime provided minimal instruction and training to Plaintiff Walker regarding

         the use of Lime Scooters prior to her first use of a Lime Scooter.

22.      Plaintiff Walker was traveling on a Lime Scooter west on 11 th Avenue in Austin, Texas,

         approaching the intersection with Congress Avenue. Plaintiff Walker was riding the

         scooter on the north sidewalk, next to the grounds of the State Capitol.

23.      Plaintiff Walker was riding the scooter in a reasonable and prudent manner and was

        exercising ordinary care for her safety at all relevant times.

24.      As Plaintiff Walker accelerated down 11th Avenue, she became uncomfortable with the

        speed of her scooter. She tried to slow down but quickly realized that the scooter’s brakes

        did not work as expected. As Plaintiff Walker struggled to stop her out-of-control scooter.

        the scooter tipped over, throwing her face-first into the wrought iron gates surrounding the

        Capitol.


PLAINTIFF’S ORIGINAL PETITION & REQUEST FOR DISCOVERY
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e
     25.     Plaintiff Walker suffered multiple facial fractures, a damaged tear duct, two broken ribs

             and her nose was nearly severed from her face. She spent three days in the hospital,

             underwent emergency reconstructive surgery, and will require additional reconstructive

             plastic surgery.

     26.     Upon information and belief, Defendant Lime was aware at the time of Plaintiff Walker’s

             crash of a bug in the Lime Scooter software that caused sudden excessive braking during

             use.

    27.      Upon information and belief. Defendant Lime was aware prior to Plaintiff Walker’s crash

             that the mechanical function of the braking system routinely failed.

    28.      Upon information and belief, Defendant Lime was aware prior to Plaintiff Walker's crash

             that Defendant Lime’s maintenance practice of adjusting the mechanical function of the

             brakes did not prevent brake failures.

    29.      Defendant Lime was aware prior to Plaintiff Walker’s crash that Lime Scooters suffered

             regular mechanical issues, including but not limited to, brake failure, sudden and

             unexpected braking, and sticking accelerators.

    30.      Defendant Lime did not warn the public of the dangerous conditions caused by the above-

             listed mechanical and software malfunctions in its scooters, nor take actions to remedy the

            dangerous conditions.

                                          VIII. CAUSES OF ACTION

                                     A.       Negligence of Defendant Lime

    31.     Plaintiff Walker repleads the foregoing factual allegations as if here quoted verbatim and

            set forth herein at length.




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.S



      32.     At the time of Plaintiff Walker’s crash, the Lime Scooter involved was owned and within

              the control of Defendant Lime. Therefore, Defendant Lime owed duties of ordinary care to

              Plaintiff.

     33.      Defendant Lime’s conduct as outlined above breached those duties through various acts

              and/or omissions, including the following, each of which singularly or in combination with

              others, constitute acts of negligence that were a direct and proximate cause of the

              occurrence in question and the resulting injuries or damages set forth herein:

                      a.       Refusing to diligently service and maintain the subject Lime Scooter;

                      b.       Failing to provide proper instruction or training to Plaintiff Walker or other

                               users of Lime Scooters;

                      c.       Knowingly putting Lime Scooters in the stream of commerce that had not

                               been reasonably serviced and/or maintained:

                      d.       Refusing to warn its consumers of dangerous conditions in Lime Scooters

                               in a timely manner after learning of the software and/or mechanical defects;

                      e.       Putting unreasonably dangerous Lime Scooters with known software and/or

                               mechanical defects in the stream of commerce for consumer use;

                      f.       Refusing to utilize available information regarding software and/or

                               mechanical defects to properly monitor Lime Scooters, including the

                              subject Lime Scooter, to ensure the safety of consumers;

                      g-       Refusing to utilize available technology to monitor and audit the safety

                              performance of Lime Scooters placed in the stream of commerce, including

                              the subject Lime Scooter;




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                  h.       Refusing to ensure the subject Lime Scooter was in proper working order

                           and free from any software and/or mechanical defects; and

                  i.       Refusing to put in place proper guidelines to ensure the subject Lime

                           Scooter was not placed in an unsafe area for consumer use.

As a direct and proximate result of the foregoing acts and/or omissions, Plaintiff Walker suffered

personal injuries and resulting damages in an amount to be determined at trial.

                              B.       Gross Negligence of Defendant Lime

34.      Plaintiff Walker repleads the foregoing factual allegations as if here quoted verbatim and

         set forth herein at length.

35.      At the time of Plaintiff Walker’s crash. Defendant Lime knew of software and/or

         mechanical defects that caused brake problems in Lime Scooters and rendered such

         scooters unreasonably dangerous.

36.      Defendant Lime consciously refused to warn its consumers of the dangerous brake

         condition caused by software and/or mechanical defects, of which it had actual knowledge

         prior to Plaintiff Walker's crash.

37.      Defendant Lime continued to place unreasonably dangerous Lime Scooters into the stream

        of commerce despite the known danger posed to consumers.

38.     This conduct, when viewed objectively from the standpoint of Defendant Lime at the time

        of Plaintiff Walker’s crash involved an extreme degree of risk, considering the probability

        and magnitude of the potential harm to others. Additionally, Defendant Lime had actual.

        subjective awareness of the risk involved, but nevertheless proceeded with conscious

        indifference to the rights, safety, or welfare of others, including that of Plaintiff Walker.




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         The foregoing acts constitute gross negligence as that term is defined in Tex. Civ. Prac.

         & Rem. CODE § 41.001. Such gross negligence was the proximate cause of the injuries

         Plaintiff Walker sustained. Defendant Lime’s acts and omissions, whether taken separately

         and/or collectively, constituted a direct and proximate cause of the crash in question and

         the resulting damages Plaintiff Walker sustained.

                                 C.      Negligence of Defendant Carter

 39.     Plaintiff Walker repleads the foregoing factual allegations as if here quoted verbatim and

         set forth herein at length.

40.      At the time of Plaintiff Walker’s crash. Defendant Carter was the Operations Manager for

         Defendant Lime’s operations in Austin, Texas.

41.      At all times relevant herein, Defendant Carter supervised all maintenance and repair

         operations at Defendant Lime’s Austin warehouse.

42.      Defendant was responsible for the maintenance and repair of the Austin fleet of Lime

         Scooters for Defendant Lime, including maintenance and repair of the Lime Scooter ridden

         by Plaintiff Walker at the time of the crash made the basis of this suit.

43.      At all times relevant herein, Defendant Carter, as the employee of Defendant Lime with

         the primary duty to oversee maintenance and repair of Lime Scooters in Austin, had a duty

        to maintain and repair Lime Scooters in Austin in a reasonable manner to ensure the safety

        of consumers and the general public.

44.     Defendant Carter's conduct as outlined above breached those duties through various acts

        and/or omissions, including the following, each of which singularly or in combination with

        others, constitute acts of negligence that were a direct and proximate cause of the

        occurrence in question and the resulting injuries or damages set forth herein:


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                  a.       Refusing to design, develop, and implement adequate maintenance and

                           repair controls related to known software and/or mechanical defects;

                  b.       Refusing to train Defendant Lime’s employees regarding how to find and

                           repair defects in Lime Scooters before placing such scooters in the stream

                           of commerce;

                  c.       Refusing to properly monitor and/or supervise maintenance and repair

                          operations at Defendant Lime’s Austin warehouse;

                  d.       Refusing to utilize available information regarding software and/or

                          mechanical defects to properly monitor Lime Scooters in Austin, including

                          the subject Lime Scooter, to ensure the safety of consumers and the public

                          at large;

                  e.      Refusing to warn consumers of dangerous conditions in Lime Scooters in a

                          timely manner after learning of software and/or mechanical defects;

                  f.      Refusing to utilize available technology to monitor and audit the safety

                          performance of Lime Scooters dispatched from Defendant Lime’s Austin

                          warehouse and placed in the stream of commerce, including the subject

                          Lime Scooter; and

                 g-       Negligently hiring, training, and supervising maintenance personnel in

                          Defendant Lime’s Austin warehouse.

45.     As a direct and proximate result of the foregoing acts and/or omissions. Plaintiff Walker

        suffered personal injuries and resulting damages in an amount to be determined at trial.




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                                             IX.     DAMAGES

46.      As a direct and proximate result of the collision made the basis of this lawsuit, Plaintiff

         Walker suffered and will in all reasonable probability continue to suffer the following

         actual damages, the dollar value of which exceeds the minimal jurisdictional limits of this

         Court:

                  a.      Medical treatment paid or incurred in the past;

                  b.      Medical treatment which will be necessary in the future;

                  c.      Past and future pain and suffering;

                  d.      Past and future mental anguish;

                  e.      Physical disfigurement;

                  f.      Past and future impairment;

                  g-      Lost wages; and

                  h.      Loss of past and future earning capacity.

47.      Pursuant to Tex. R. Civ. P. 47, Plaintiff Walker seeks monetary relief over $1,000,000.

         Plaintiffs counsel offers this statement for informational purposes only as required by Tex.

         R. Civ. P. 47 and reserves the right to change or amend it as the evidence deems necessary.

        The amount of monetary relief actually awarded, however, will ultimately be determined

         by a jury. Plaintiff Walker also seeks pre-judgment and post-judgment interest at the

         highest legal rate.

                                  X.     Tex. R. Civ. P. 193.7 NOTICE

48.     Pursuant to Tex. R. Civ. P. 193.7, Plaintiff Walker hereby gives notice of intent to utilize

        items produced in discovery against the producing party.




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                                              XI.      DISCOVERY

 49.        Pursuant to Tex. R. Civ. P. 194. Plaintiff Walker requests that Defendants disclose, within

           50 days of the service of this request, the information or material described in Tf.x. R. Civ.

           P. 194.2.

                                               XII.      PRAYER

           WHEREFORE. Plaintiff Walker prays that Defendants be cited according to law to appear

and answer herein, and that upon final trial. Plaintiff Walker have judgment against Defendants as

 follows:

                           An award of actual damages:

                   ->      An award of pre-judgment interest;

                   3.      An award of post-judgment interest;

                   4.      And other relief the Court determines is just under the circumstances.

                                                      Respectfully submitted.

                                                      Zinda Law Group. PLLC
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                                                      (512) 246-2224 Office
                                                      (512) 580-4252 FAX
                                                      Service of Documents: servicc@hzfirm.com


                                                      By:
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                                                            Jason Aldridge
                                                            State Bar No. 24«'X*w| |

                                                            ATTORNEYS FOR PLAINTIFF
                                                            DOROTHY WALKER

PLAINTIFF'S OKl(iINAL PETITION & REQUEST FOR DISCOVERY
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                                                                                    5/28/2019 11:53 AM
                                                                                                      Velva L. Price
                                                                                                     District Clerk
                                                                                                     Travis County
AXS.10809                                                                                         D-1-GN-19-002433
                                   CAUSE NO. D-1-GN-19-002433                                     Sandra Henriquez


 DOROTHY WALKER,                                     §    IN THE DISTRICT COURT OF
                                                     §
 v.                                                  §
                                                     §    TRAVIS COUNTY, TEXAS
 NEUTRON HOLDINGS, INC. d/b/a                        §
 LIMEBIKE and/or LIME SCOOTERS                       §
 and ZACHARY CARTER,                                 §    126th JUDICIAL DISTRICT

                                DEFENDANTS’ ORIGINAL ANSWER

      NEUTRON HOLDINGS, INC.          D/B/A   LIMEBIKE    AND/OR    LIME SCOOTERS (“LIME”)         AND

ZACHARY CARTER file this Original Answer:

                                                    I.
                                              General Denial

      Defendants deny each and every, all and singular, the material allegations contained within

Plaintiff’s pleadings and demands strict proof thereof.

                                              II.
                 Affirmative Defenses, Avoidances, and Limitations on Damages

      All of Plaintiff’s claims fall within the scope of a valid arbitration agreement and are

governed under the Federal Arbitration Act, and the same should be compelled to arbitration and

which are more fully detailed and briefed in an upcoming Motion to Compel Arbitration.

      All of Plaintiff’s claims are barred by an enforceable release of liability to which Plaintiff

was a party.

      Plaintiff’s injuries are the result of Plaintiff’s own negligence, in whole or in part.

      Plaintiff’s injuries, if any, are the result of an intervening, superseding and/or new and

independent cause which destroys the causal connection if any, between Defendants’ alleged acts

or alleged product(s) and Plaintiffs’ injuries, if any.

      Events other than those set in motion by Defendants are the sole proximate cause of

Plaintiff’s injuries, if any.

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   Plaintiff’s injuries, if any, are the result of unintended, unexpected and/or abnormal use or

misuse of the product complained of.

   Defendants state that in the unlikely event that an adverse judgment is rendered against them

in this matter, they are entitled to contribution, indemnity, and/or all available credits as provided

for in the Texas Civil Practice & Remedies Code and under Texas law.

   Defendants respectfully request that the factfinder allocate responsibility, if any, among all

parties, settling parties, and responsible third parties, in accordance with Chapters 32 and 33 of

the Texas Civil Practice and Remedies Code.

   Defendants invoke the protections afforded to them by Chapter 82 of the Texas Civil Practice

& Remedies Code including indemnity and protection as a nonmanufacturing seller.

   Defendants assert that venue is improper in this suit because Plaintiff is bound by a

contractual clause in a binding agreement specifying the valid forum, venue, and exclusive

personal jurisdiction for claims of this type.

   Defendants assert that this Court lacks personal jurisdiction in this suit because Plaintiff is

bound by a contractual clause in a binding agreement specifying the valid forum, venue, and

exclusive personal jurisdiction for claims of this type, which vests exclusive jurisdiction in

California.

                                                  III.
                                                 Prayer

   Defendants pray that the Plaintiff take nothing by this suit, that Defendants go hence with

their costs without delay, and for such other and further relief, both general and special, at law

and in equity, to which Defendants may show themselves justly entitled.




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                                            Respectfully submitted,

                                            FEE, SMITH, SHARP & VITULLO, L.L.P


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                                            ATTORNEYS FOR NEUTRON HOLDINGS, INC.
                                            D/B/A LIMEBIKE AND/OR LIME SCOOTERS
                                            AND ZACHARY CARTER




                               CERTIFICATE OF SERVICE

  This will certify that a true and correct copy of the foregoing instrument has this 28th day of
May, 2019, been forwarded to all attorneys of record in this cause of action as follows:

Via Electronic Service
Neil Solomon
Jason Aldridge
John C. Zinda
Zinda & Davis, PLLC
8834 N. Capital of Texas Highway
Suite 304
Austin, TX 78759


                                                /s/ Thomas W. Fee
                                            THOMAS W. FEE




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